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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

KIMEDA MCGINNIS,                             )
                                             )
                       Plaintiff,            )
                                             )
               v.                            )       No. 11 C 8475
                                             )
ROBERT ROWELS, JESSE                         )
MONTGOMERY, and MICHAEL P.                   )
RANDLE,                                      )
                                             )       JURY DEMANDED
                       Defendants.           )

                                 AMENDED COMPLAINT

        For her Amended Complaint against defendants, plaintiff Kimeda McGinnis

(“McGinnis”) states as follows:

                             JURISDICTION AND VENUE

        1.     This action is brought pursuant to 42 U.S.C. § 1983 to seek redress of

injuries suffered by Plaintiff based on the violation of her constitutional right under the

Eighth and Fourteenth Amendments of the United States Constitution to be free from

cruel and unusual punishment. Therefore, jurisdiction is proper under 28 U.S.C. §§ 1331

and 1343(a)(3).

        2.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the

plaintiff’s claims for relief are based on events that occurred in the Northern District of

Illinois.

                                    JURY DEMANDED

        3.     Plaintiff hereby demands that all issues so triable are decided by a jury of

not less than six (6) persons.
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                                          PARTIES

        4.      At all relevant times, McGinnis was a resident of the City of Chicago,

Illinois, and a citizen of the United States.

        5.      At all relevant times, Defendant Robert Rowels (“Rowels”) was a Parole

Officer with the Illinois Department of Corrections (“IDOC”). Upon information and

belief, Rowels had been working as a parole officer with the IDOC since 2001. In that

capacity, Rowels was responsible for supervising Ms. McGinnis while she was on parole.

Rowels was acting under color of State law when he participated in the violation of the

Plaintiff’s civil rights complained of herein.

        6.      Upon information and belief, at all relevant times Defendant Jesse

Montgomery (“Montgomery”) was the Chief of the Parole Division with the IDOC.

Upon information and belief, Montgomery was responsible for the day-to-day

management of the Parole Division and, acting under color of State law, took part in

establishing and enforcing the policies and rules of the division.

        7.      Upon information and belief, at all relevant times Defendant Michael

Randle (“Randle”) was the Director of the IDOC. Upon information and belief, Randle

was also responsible for the management of the Parole Division and every other

department under the IDOC. Acting under color of State law, took part in establishing

and enforcing the policies and rules of the division.

                               FACTUAL ALLEGATIONS

        8.      Plaintiff realleges and incorporates by reference paragraphs 1 through 7 as

if fully set out herein.




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       9.      At all relevant times herein, Defendants were officials of an entity created

under State authority, were "persons" for purposes of 42 U.S.C. § 1983, and acted under

the color of state law.

       10.     In or about December 2009, the IDOC assigned Rowels as Ms.

McGinnis’s parole officer.

       11.     In or about December 2009, shortly before Christmas, Rowels made his

first visit to Ms. McGinnis’s residence. During that initial visit, Officer Rowels took Ms.

McGinnis to the bedroom and ordered her to perform a sexual act upon him. Officer

Rowels threatened Ms. McGinnis and told her that if she did not “help him out” (i.e.,

perform the sex act), he would send her back to jail. He also stated that no one at the

IDOC would take her word over his if anyone discovered the incident. After Ms.

McGinnis performed the act, Officer Rowels left and told Ms. McGinnis to “have a nice

holiday.”

       12.      On or about January 6, 2010, Officer Rowels returned to Ms. McGinnis’s

place of residence. This time, Officer Rowels ordered Ms. McGinnis to enter his state-

issued vehicle, drove Ms. McGinnis to an alley near her home, and forced her to perform

a sex act in the vehicle. Once again, Officer Rowels threatened to send Ms. McGinnis

back to jail if she did not comply.

       13.     Officer Rowels had been a parole officer since 2001 and Ms. McGinnis is

not the first parolee whom Officer Rowels forced to perform a sex act under pain of

going back to jail. And his willingness to coerce Ms. McGinnis during his first visit with

her, inter alia, demonstrates that the IDOC does little, if anything, to control such

behavior amongst its parole officers.




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        14.      The IDOC never informed Ms. McGinnis of any procedure through which

she could report Officer Rowels’ behavior. In fact, at all times the IDOC’s actions

confirmed Officer Rowels’s statement that no one would believe her if she said anything.

                                Count I -- 42 U.S.C. § 1983
                              Cruel and Unusual Punishment

        15.      Plaintiff realleges and incorporates by reference paragraphs 1 through 14

as if fully set out herein.

        16.      As described above, the conduct of Officer Rowels and the policies of the

IDOC, which were established and/or enforced by defendants Montgomery and Randle,

subjected Ms. McGinnis to cruel and unusual punishment in violation of the Eighth and

Fourteenth Amendments to the Constitution of the United States of America.

        17.      At all times relevant to this Complaint, Rowels, Montgomery and Randle

were acting under the color of state law.

        18.      In or about December 2009 and January 6, 2010, Officer Rowels

committed one or more of the following acts of deliberate indifference for the physical

and mental health, safety, and welfare of Plaintiff:

              a. Forced her to perform sex acts;

              b. Mentally abused and manipulated her; and

              c. Was otherwise deliberately indifferent to her health and welfare.

        19.      During their terms as Director and Chief, defendants Montgomery and

Randle, acting jointly and having conspired together, committed one or more of the

following acts of deliberate indifference and conscious disregard for the health, safety

and welfare of IDOC parolees:




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        a.      Receiving and ignoring reports that defendant Rowels and other
                parole officers had sex with female parolees;

        b.      Encouraging the type of misconduct at issue here by (i) refusing to
                provide parolees an opportunity to openly, confidentially, and
                fairly report the misconduct of parole officers without fear of
                reprisal; (ii) failing to notify parolees of their right to such an
                opportunity; and (iii) failing to adequately train, supervise and
                control its officers, such that its failure to do so manifests
                deliberate indifference;

        c.      Facilitating the type of misconduct at issue here by failing to
                adequately investigate, punish and/or discipline prior instances of
                similar misconduct – including, upon information and belief, by
                delaying and discouraging investigations into allegations of
                misconduct - thereby leading parole officers to believe their
                actions will never be scrutinized and, in that way, directly
                encouraging future abuses such as those affecting Plaintiff;

        d.      Being aware of, and condoning and facilitating by their inaction, a
                “code of silence.” Parole officers and their supervisors routinely
                fail to report instances of misconduct and lie to protect each other
                from punishment, and go undisciplined for doing so;

        e.      Failing to implement any rules that gave Officer Rowels any
                reservations about committing the misconduct at issue in this
                matter on his very first visit to Ms. McGinnis;

        f.      Upon information and belief, failing to act to remedy the patterns
                of abuse in the Parole Division, despite actual knowledge of the
                same, thereby causing the types of injuries alleged here; and

        g.      Committing other acts of deliberate indifference and conscious
                disregard for the health, safety and welfare of IDOC parolees.

        20.     The misconduct described in this Complaint was objectively unreasonable,

unconscionable, and was undertaken intentionally with willful indifference to the

Plaintiff’s constitutional rights.

        21.     The misconduct described in this Complaint was undertaken with malice,

willfulness, and reckless indifference to the rights of others.




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        22.     As a direct and proximate result of one or more of the foregoing wrongful

acts and omissions, Ms. McGinnis was deprived of rights, privileges, and immunities

guaranteed by the Eighth Amendment to the United States Constitution in that she was

sexually abused on more than one occasion and thereby suffered serious personal

physical injuries, emotional distress and other harm.

WHEREFORE, McGinnis demands compensatory damages, jointly and severally, from

the Defendants. Plaintiff also demands punitive damages, costs and attorneys’ fees.

                                      COUNT II
                                 Assault Against Rowels

        23.     McGinnis realleges and incorporates by reference paragraphs 1 through 22

as if fully set out herein.

        24.     That in or about December 2009, on or about January 6, 2010, and at all

relevant times, it was the duty of Rowels to refrain from injuring parolees, including, but

not limited to, Ms. McGinnis.

        25.     That notwithstanding said duties, Rowels committed one or more of the

following careless and/or negligent acts and/or omissions and/or willful actions thereby

breaching their duties in one or more of the following respects:

        a) Carelessly, negligently, and/or maliciously failed to protect McGinnis from
           danger;

        b) Carelessly, negligently, and/or maliciously failed to insure the well-being and
           physical safety of McGinnis;

        c) Carelessly, negligently, and/or maliciously failed to forego injuring McGinnis;
           and/or

        d) Was otherwise careless, negligent and/or malicious such that McGinnis was
           injured.




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       26.     That as a direct and proximate result of Officer Rowels’ careless,

negligent, and malicious conduct, McGinnis suffered and sustained injuries, endured pain

and suffering of a temporary and permanent nature, experienced losses of normal life

activities, incurred expenses for medical care and attention, and suffered severe

emotional distress.



WHEREFORE, McGinnis demands compensatory damages, jointly and severally, from

the Defendants. Plaintiff also demands punitive damages, costs and attorneys’ fees.


                                                   Respectfully Submitted,

                                                   KIMEDA MCGINNIS


                                                   By: /s/ Keith E. Allen
                                                      One of her attorneys

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                            CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that he caused to be served the
foregoing Amended Complaint via the Court’s electronic filing system on February 13,
2012 on:

        Kevin R. Lovellette
        Chloe G. Pedersen
        Office of the Illinois Attorney General
        100 W. Randolph, 13th Floor
        Chicago, Illinois 60601




                                     /s/ Keith E. Allen




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